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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No.

ERIC AND CORI GRIFFIN AS PARENTS AND NEXT FRIEND TO KYRAH GRIFFIN, A
MINOR,
      Plaintiff,

v.

ALLSTATE INSURANCE COMPANY
     Defendant.

                             DEFENDANT’S NOTICE OF REMOVAL

     COMES NOW the Defendant, Allstate Insurance Company, by and through Counsel, The

Ross-Shannon Law Firm, P.C., and pursuant to 28 U.S.C.A. § 1446, hereby removes the above

action from the District Court for the County of Denver, based on the following grounds:


     1. The above action was filed in the District Court, County of Denver and is now pending in

        that Court. Process, including Summons and Complaint, was served on Defendant on

        March 2, 2018.

     2. The Plaintiff alleges that this action is a civil action involving an amount in controversy of

        at least $100,000, exclusive of interests and costs. Specifically, in her Complaint for

        Damages, Plaintiff alleges that the automobile liability insurance policy at issue provides

        underinsured motorist benefits in the amount of $100,000. See, Plaintiff’s Complaint for

        Damages at ¶ 23. Plaintiff alleges that her “damages from this accident exceed the available

        bodily injury coverage”. See, Plaintiff’s Complaint for Damages at ¶ 26. Plaintiff’s

        Complaint pleads claims for breach of contract, violations of C.R.S. § 10-3-1115(1)(a) and

        § 10-3-1116(1), and bad faith breach of the insurance contract.
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   3. This is a civil action between parties of diverse citizenship and for which this Court has

       original jurisdiction under 28 U.S.C.A. § 1332. Plaintiff is a citizen of the State of

       Colorado, and Defendant is a citizen of the State of Illinois. No change of citizenship has

       occurred since the commencement of this action.



   4. Defendant is entitled to remove the above action from the state District Court to the United

       States District Court pursuant to 28 U.S.C.A. § 1446(a).



   5. Copies of all process and pleading served on Defendant are attached and filed with this

       Notice.


Dated: March 28, 2018.                      Respectfully submitted,


                                                    sBradley Ross-Shannon
                                            Bradley Ross-Shannon
                                            Patrick C. Delaney
                                            THE ROSS-SHANNON LAW FIRM, P.C.
                                            12596 West Bayaud Avenue, Suite 380
                                            Lakewood, Colorado 80228
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                                            Attorneys for Defendant
                                            Allstate Insurance Company

Address for the Defendant:
2775 Sanders Road
Northbrook, Illinois 60062
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Proposed Scheduling Order
was filed and served via e-mail by ECF/PACER this 28th day of March 2018, addressed to the
following persons:

Jeremy R. Rosenthal, Esq.
Law Firm of Jeremy Rosenthal
4100 E. Mississippi Ave., Floor 19
Denver, CO 80246


                                             /s/ Barb Brown



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